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                                 UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MASSACHUSETTS

MARGARET CZERWIENSKI, LILIA
KILBURN, and AMULYA MANDAVA,

        Plaintiffs,

                          v.
                                                            Case No. 1:22-cv-10202-JGD
HARVARD UNIVERSITY AND THE
PRESIDENT AND FELLOWS OF
HARVARD COLLEGE,

        Defendants.



                        NOTICE OF APPEARANCE OF KAELA ATHAY

        Kaela Athay of Manatt, Phelps & Phillips, LLP, hereby enters her appearance as co-

counsel on behalf of Defendant President and Fellows of Harvard College.1



                                                            /s/ Kaela Athay
                                                            Kaela Athay, BBO #705105
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                                                            Attorney for Defendants,
                                                            Harvard University and President and
                                                            Fellows of Harvard College




1
  Harvard University is not properly named as a Defendant in this action, since it is not a corporate entity
independent of the President and Fellows of Harvard College. Accordingly, the President and Fellows of Harvard
College responds on behalf of both named Defendants.

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                                CERTIFICATE OF SERVICE

        I, Kaela Athay, hereby certify that a copy of the foregoing was sent via the Court’s
electronic filing system and served to all counsel of record on March 21, 2024.


                                                                    /s/ Kaela Athay
                                                                    Kaela Athay




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